                      Case 1:13-cr-02032-JB              Document 66            Filed 06/26/14             Page 1 of 3
AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                          District of New Mexico

                  UNITED STATES OF AMERICA                             Judgment in a Criminal Case
                             V.
                Maria Fernanda Borboa-Cota                             (For Offenses Committed On or After November 1, 1987)
                                                                       Case Number: 1:13CR02032-002JB
                                                                       USM Number: 72905-051
                                                                       Defense Attorney: B.J. Crow, Appointed
THE DEFENDANT:

c    pleaded guilty to count(s) Information
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                         Offense Ended              Count
                                                                                                                       Number(s)
21 U.S.C. Sec.      Possession with Intent to Distribute a Mixture and Substance Containing 05/19/2013
841(b)(1)(C)        Methamphetamine

The defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has been found not guilty on count .
d    Count dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                       April 10, 2014
                                                                       Date of Imposition of Judgment


                                                                       /s/ James O. Browning
                                                                       Signature of Judge


                                                                       Honorable James O. Browning
                                                                       United States District Judge
                                                                       Name and Title of Judge


                                                                       June 26, 2014
                                                                       Date Signed
                      Case 1:13-cr-02032-JB            Document 66            Filed 06/26/14         Page 2 of 3
AO 245B (Rev. 12/10) Sheet 2 - Imprisonment                                                                            Judgment - Page 2 of 3


Defendant: Maria Fernanda Borboa-Cota
Case Number: 1:13CR02032-002JB


                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 30 months.

The Court recommends that Immigration and Customs Enforcement begin removal proceedings during service of sentence.

Pursuant to Section 5D1.1(c), the Court will not impose a term of supervised release.

For the reasons stated on the record at the sentencing hearing held April 10, 2014, the Court varies.

c      The court makes the following recommendations to the Bureau of Prisons:

       The camp at the Federal Correctional Institution, Victorville, California, if eligible.

c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                              RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.




                                                                     UNITED STATES MARSHAL

                                                                    By
                                                                     DEPUTY UNITED STATES MARSHAL
                      Case 1:13-cr-02032-JB                     Document 66     Filed 06/26/14          Page 3 of 3
AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 3 of 3


Defendant: Maria Fernanda Borboa-Cota
Case Number: 1:13CR02032-002JB


                                                 CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
d        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $100.00                           $0.00                            $0.00


                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
